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 1
 2                      UNITED STATES DISTRICT COURT
 3
                               DISTRICT OF NEVADA
 4
                                      * * *
 5
 6   UNITED STATES OF AMERICA,           )
                                         )
 7                Plaintiff,             )
                                         )          2:12-cr-04-APG-GWF-26
 8   v.                                  )
                                         )                 O R D E R
 9
     DUVAUGHN BUTLER,                    )
10                                       )
                                         )
11                                       )
                  Defendant.             )
12                                       )

13
14        On February 4, 2014, this matter came before the Court for
15   hearing on the Petition for action on the defendant's conditions of
16   pretrial release (#557).    The defendant was present with counsel.
17        The defendant did not contest the allegations and consented to
18   detention pending trial.
19        The Court has considered the information offered by the
20   Government, defendant’s admission that he has been arrested and his

21   consent to detention, and finds as follows:

22        There is clear and convincing evidence that the defendant has

23   violated his condition(s) of release, including being arrested

24   while on release; and

25        There is clear and convincing evidence that the defendant is

26   unlikely to abide by any condition or combination of conditions of

27   release.
28        ACCORDINGLY, IT IS THEREFORE ORDERED pursuant to the provisions
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 1   of 18 U.S.C. § 3148 that the release order heretofore entered on
 2   March 15, 2012 is hereby revoked.
 3        IT IS FURTHER ORDERED that the defendant shall be detained
 4   pending Sentencing.
 5
 6   DATED this 5th   day of February, 2014.
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 9                                   ANDREW P. GORDON
                                     UNITED STATES DISTRICT JUDGE
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